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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                Eastern Division

Cynthia A. Lund
                                   Plaintiff,
v.                                                    Case No.: 1:22−cv−05826
                                                      Honorable Virginia M. Kendall
Northern Illinois University
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 6, 2023:


        MINUTE entry before the Honorable Virginia M. Kendall. Pursuant to Federal
Rule of Civil Procedure 41(a)(1)(A)(ii) and Joint Stipulation of Dismissal [15], case is
dismissed with prejudice, with each party to bear its own costs and attorneys' fees. Civil
case terminated. Mailed notice(lk, )




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